
AGREED ORDER
On a prior day came the Claimant, by counsel, Laura Ellen Buchko, Esquire, and came the respondent, by counsel, John s. Dalporto, Senior Assistant Attorney General, and Jeffrey G. Blaydes, Assistant Attorney General, who represented to the Court that the matters at issue in this claim have been fully resolved and that the parties have agreed and stipulated that the sum of One Hundred, Seventy-two thousand, Two Hundred one and 42/100 dollars ($172,201.42) is the total amount of money due the Claimant for the subject period,1 which period includes January 31, 1996, and that such sum includes any and all claims for “advance quarterly premiums”, interest and penalties which have been or may be asserted as due and owing by the Claimant under the Workers’ Compensation Act at this time.
Upon all of which, is hereby ORDERED that the Claimant is granted an award int the total amount of One Hundred Seventy-two thousand, Two Hundred one and 42/100 ($172,201.42), and the case is hereby dismissed from the docket, with prejudice.
ROBERT M. STEPTOE Presiding Judge
Seen and Approved by:
